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11   UNITED STATES OF AMERICA

12                            UNITED STATES DISTRICT COURT

13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,                No. CR 23-47-JLS

15              Plaintiff,                    GOVERNMENT’S OPPOSITION TO
                                              DEFENDANT GIRARDI’S EX PARTE
16                    v.                      APPLICATION TO CONTINUE TRIAL DATE
                                              FROM AUGUST 6, 2024 TO OCTOBER 8,
17   THOMAS VINCENT GIRARDI and               2024
     CHRISTOPHER KAZUO KAMON,
18
                Defendants.
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20         Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorneys Scott Paetty and Ali
23   Moghaddas, hereby files its opposition to defendant’s ex parte
24   application for an order continuing the trial date (Dkt. 274).
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1          This opposition is based upon the attached memorandum of points

2    and authorities, the exhibits attached hereto, the files and records

3    in this case, and such further evidence and argument as the Court may

4    permit.

5     Dated: July 17, 2024                 Respectfully submitted,

6                                          E. MARTIN ESTRADA
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10                                               /s/
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1                       MEMORANDUM OF POINTS AND AUTHORITIES

2          After agreeing to seek no further continuances of the trial date

3    in this matter, and less than three weeks before the current trial

4    date that he stipulated to, defendant Thomas Vincent Girardi

5    (“defendant Girardi” or “Girardi”) requests that this Court once

6    again delay his trial.      Defendant’s application raises no good cause

7    justifying an additional continuance and should be denied.

8          At the January 2024 status conference, this Court announced its

9    tentative ruling to set this case for trial on May 21, 2024.             (Dkt.

10   161 at 4:10.)    Thereafter, counsel for defendant Girardi began

11   requesting a vast array of additional discovery, much of it beyond

12   the ambit of Rule 16, including all communications contained on the

13   Girardi Keese server (dating back decades), all analyses prepared by

14   the bankruptcy trustee (or her agents) of the Girardi Keese financial

15   systems, including all the government’s communications with the

16   trustee, all forensic images of computers at Girardi Keese, and all

17   forensic images of defendant Kamon’s multiple phones and laptop.                The

18   government produced and/or facilitated the production of all of these

19   materials (and more), while explicitly noting that “[b]y producing

20   such materials, we do not concede that . . . these materials

21   constitute Brady or Rule 16 information” and that “the government

22   does not . . . waive its right to object to any future requests to

23   continue the trial data as a result of this or other discovery

24   productions.”

25         In March 2024, notwithstanding the government’s assistance with

26   these discovery requests and the above admonition, the defense

27   requested a continuance to August 2024 in order to better prepare for

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1    trial. 1   The government begrudgingly agreed to this continuance, in

2    part, because defense counsel explicitly agreed that “defendants will

3    not seek further continuances of the trial date, and that no further

4    continuance should be granted, absent good cause and the existence of

5    new information not known as of the date of this stipulation[.]”

6    (Dkt. 184 at 5.)     Now, notwithstanding their repeated

7    representations, and less than three weeks before the current trial

8    date, defendant has filed an ex parte application and several

9    “supplements” seeking more time.        Defendant’s application raises

10   seven reasons why the Court should further continue this case;

11   however, none justify good cause warranting a continuance.

12         First, as articulated in the government’s briefing related to

13   its motion to admit evidence of defendant’s misappropriation of

14   settlement funds (Dkts. 214 & 267), the government’s representation

15   that it would present a streamlined case focused on the four

16   executions alleged in the indictment did not limit its ability to

17   present evidence of defendant’s misappropriation of client funds.

18   But even if it did, the government has consistently and clearly
19   stated to defense counsel that it reserved its right to introduce

20   other evidence, including in rebuttal, depending on the defense

21   theory, which has now directly put this evidence at issue.            (See,

22   e.g., Ex. 3; see also Dkt. 267 at 6 (“[T]he fact that Girardi now

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24         1In negotiating this continuance, counsel represented that
     “[a]s part of a compromise, we’re saying that four months is what we
25   need to get through this voluminous information. Why not give us
     that already limited amount of time and take the issue off the
26   table?” Counsel further represented that “we can agree to no further
     continuances absent something new plus good cause[.]” (See Ex. 1
27   attached hereto; see also Ex. 2 (email stating that “because we
     (Girardi’s defense team) made an agreement with the government, we
28   will not ask for a continuance to the October date even though we may
     want the additional time”).)
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1    intends to present a contorted view of the facts necessitates that

2    the government be allowed to provide the jury with the full context

3    of defendant’s actions”).)

4          Second, that there are six outstanding pretrial motions pending

5    is not unusual, let alone a basis for more time.           In fact, this

6    briefing schedule was agreed to by counsel for both defendants in the

7    prior stipulation for more time.        (Dkt. 184 at 3.)     This is hardly

8    the “good cause and the existence of new information not known as of

9    the date of this stipulation” justifying a further continuance.

10         Third, after having been provided a near identical, cut-and-

11   paste disclosure for Dr. Chui from her opinions in the competency

12   proceedings, the government repeatedly requested a supplement so that

13   it could meaningfully consider its options, “including retaining

14   [its] own expert and/or moving to limit/exclude Dr. Chui’s

15   testimony.”    (See Exhibit 4.)     After months of requesting a

16   supplement, defendant Girardi finally provided one in June, three

17   months after Dr. Chui’s initial disclosure and weeks after the

18   government filed its motion to exclude Dr. Chui’s testimony.             (See
19   Dkt. 188.)    After the Court denied the government’s motion, the

20   government promptly served its disclosure for rebuttal testimony from

21   Dr. Darby, which like Dr. Chui’s disclosure, largely mirrors his

22   opinions and testimony from the competency proceeding.            Defendant

23   claims that he no longer has a meaningful opportunity to challenge

24   Dr. Darby’s opinions.      Setting aside that defendant has already

25   challenged Dr. Darby and his opinions in connection with the

26   competency proceedings, defendant’s team of lawyers, who in less than

27   24 hours after receiving Dr. Darby’s disclosure were able to prepare

28   and file his 15-page ex parte application for a continuance, are

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1    clearly capable of filing a motion on shortened time to challenge Dr.

2    Darby ahead of the government’s rebuttal case. 2

3          Fourth, defendant’s complaints regarding evidentiary

4    stipulations is a red herring.       As an initial matter, the lack of any

5    stipulation as to the admissibility of exhibits is not a reason to

6    continue a trial date.      Parties often proceed to trial without such

7    stipulations and simply lay foundation pursuant to the Federal Rules

8    of Evidence.    But in this case, the government has been transparent

9    with the defense that it intends to seek evidentiary stipulations,

10   including stipulations regarding records produced by the trustee.

11   Indeed, it was the government who initially contacted the defense to

12   reach such agreement.      In any event, as of this filing, the parties

13   have tentatively reached agreement on stipulations regarding the

14   admissibility of much of the parties’ respective evidence.

15   Therefore, this too does not qualify as good cause for a continuance.

16         Fifth, counsel suggests the government has told witnesses that

17   it wished to be present for any conversations with the defense.             This

18   is patently false.     In witness interviews, the government often

19   advises witnesses that they may be contacted by the defense, and it

20   is the witnesses’ choice whether they choose to accept, decline, or

21   ask that the government participate.        That has been and will continue

22   to be the advisement provided to witnesses in this case, and is

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24         2Notably, in arguing the lack of prejudice for defendant’s
     failure to provide any supplemental disclosure for Dr. Chui,
25   defendant argued that “the near-exclusive focus of this case for
     approximately a year was on mental-state evidence and expert
26   testimony,” that the “government has already received a fulsome
     disclosure from Dr. Chiu [sic] and had a chance to cross-examine
27   her,” and that “any claims of prejudice would be baseless on this
     record.” (See Ex. 4 at 4.) These same arguments apply equally to
28   defendant should he choose to challenge Dr. Darby’s proffered
     testimony in the government’s rebuttal case.
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1    consistent with the admonition provided to witnesses in other cases

2    prosecuted by the government in this district.          Despite the

3    government’s request for the identities of the witnesses who have

4    purportedly said otherwise, counsel has refused.           In any event, a

5    continuance is not an appropriate remedy for such allegations.

6          Sixth, this case does not present any unique “time-consuming

7    distractions from trial preparation.”         Indeed, defendants have

8    possessed the government’s draft witness and exhibit lists for nearly

9    six months, 3 the documents and legal theories at issue are not

10   complex, and, as referenced above, the parties have met and conferred

11   and reached agreements in principle on the admissibility of general

12   categories of documents for trial.        Moreover, counsel’s request for a

13   jury questionnaire -– made over the government’s objection –- cannot

14   now serve as a basis for delay.        (Dkt. 274 at 12 (claiming the jury

15   questionnaire will require a “substantial amount of time” to process

16   and review).)    If counsel no longer wishes to use a jury

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18         3Defendant’s latest supplement in support of his request for a
     continuance goes too far and baselessly accuses the government of
19   gamesmanship. Among other things, defendant argues the government
     should not be allowed to add exhibits to its list in advance of
20   trial. (See Dkt. 280.) However, defendant’s claim is not based on
     facts or common sense. Despite no rule or legal obligation to
21   provide the defense with its draft witness and exhibit lists, the
     government did so as early as February 2024, noting expressly that it
22   reserved the right to supplement its list in advance of trial. (See
     Exhibit 5.) With still three weeks until trial, the government has
23   provided a revised exhibit list that adds approximately 80 new
     exhibits, half of which are related to Kamon’s side fraud and mostly
24   images of checks and bank statements. Much of the remaining new
     exhibits, many of which are spreadsheets, are simply underlying
25   sources of data supporting draft summary charts, which the government
     intends to produce upon receipt of executed draft summary chart
26   agreements from the defense. Defendant’s repeated claim that the
     government is now broadening the scope of its case despite its
27   previous representations also ignores that much of this evidence is
     to rebut the defendant’s theories. Clearly the government must be
28   allowed to rebut defendant’s tilted view of the evidence and nothing
     in the government’s prior representations precludes that.
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1    questionnaire, the parties can proceed with traditional voir dire,

2    which has proved appropriate in countless other cases.

3           Seventh, and finally, whether any trial witnesses are “producing

4    or participating in a podcast,” is beyond the government’s control

5    and is hardly a reason to continue the trial date.           Indeed, as the

6    defense acknowledges, this case has been “widely reported and

7    discussed,” (Dkt. 186 at 1), and “presumably, the same witnesses will

8    be engaged in the same activities at any trial date” (Dkt. 274 at

9    12.)       Furthermore, the government’s intervention in a related civil

10   matter before scheduled depositions of the government’s witnesses is

11   neither unusual nor improper.       See, e.g., Keating v. Office of Thrift

12   Supervision, 45 F.3d 322, 324 (9th Cir. 1995).          The government has

13   also produced recent witness memoranda and proffer letters, including

14   for at least one individual who is not expected to testify in this

15   case, and will continue to do so on a rolling basis.           (See, e.g.,

16   Dkt. 275.)       The defense has not articulated any prejudice from its

17   recent receipt of these materials, which largely track information

18   contained in prior filings and witness memoranda.           In any event, the
19   government has advised the defense that it will begin producing agent

20   notes of witness interviews in lieu of formal memoranda between now

21   and trial, thereby minimizing the risk of further delay. 4

22   Accordingly, these excuses too do not justify defendants’ request for

23   more time.

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            Defendant’s supplement also complains that the government’s
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26   recent productions include approximately 2,000 pages (Dkt. 280 at 3-
     4), but fails to explain that approximately 700 of those pages relate
27   to defendant Girardi’s tax filings that the government cited to in
     its opposition to defendant’s motion to suppress. The government
28   does not intend to use this material, or much of what else has been
     recently produced, at trial.
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1          For the foregoing reasons, the government respectfully requests

2    that this Court deny defendant’s ex parte application for a

3    continuance of trial. 5

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           5The government submits that this ex parte application can be
27   denied on the papers with no further hearing. Of course, should the
     Court intend to proceed with the hearing on July 19, 2024, the
28   government will appear and present further argument in support of its
     opposition.
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